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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS, LLC,

        Plaintiff,

v.

TRUDY ADAMS, JOHN “CLAY” WILLIAMS
and AUTARKIC HOLDINGS INC.
   d/b/a LAUNDRYLUX,

        Defendants.
------------------------------------------------------------- Case No. 3:23-cv-22130 (MCR)
TRUDY ADAMS, and
JOHN “CLAY” WILLIAMS,

         Counter Plaintiffs/Third Party Plaintiffs

v.

ALLIANCE LAUNDRY SYSTEMS LLC,

         Counter Defendant
And

MIKE HAND, SAMANTHA BAKER and
GREG REESE,

         Third-Party Defendants


DEFENDANTS/COUNTER-PLAINTIFFS/THIRD PARTY-PLAINTIFFS,
       TRUDY ADAMS AND JOHN “CLAY” WILLIAMS’
           MOTION FOR SUMMARY JUDGMENT
   Case 3:23-cv-22130-MCR-ZCB       Document 158     Filed 03/14/25   Page 2 of 3




      Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1,

Defendants/Counter-Plaintiffs/ Third-Party Plaintiffs, Trudy Adams (“Adams”) and

John “Clay” Williams (“Williams”) (collectively “Counter-Plaintiffs”), move for

summary judgment on all claims brought against them by Alliance Laundry Systems

LLC (“Alliance”). Adams further moves for summary judgment on the breach of

contract claim brought solely against her by Alliance. Counter-Plaintiffs also move

for summary judgment on their respective breach of contract claims against Alliance.

Counter-Plaintiffs’ Motion for Summary Judgment is based on the Memorandum of

Law attached hereto.



Dated:      March 14, 2025

                                      Respectfully Submitted,

                                      WILSON ELSER MOSKOWITZ
                                        EDELMAN& DICKER LLP

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                                           Attorneys for Defendants/Counter-
                                           Plaintiffs/Third Party Plaintiffs
                                           Trudy Adams and
                                           John “Clay” Williams


                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 14, 2025, that Adams’ and Williams’

Motion for Summary Judgment was served on all counsel of record via email, with

a hard copy of the same scheduled to be delivered to the Court.


                                          /s/ Amaris C. Gyebi
                                             Amaris C. Gyebi, Esq.
